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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:16−cr−00438
                                                            Honorable John Z. Lee
Artem Vaulin, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 26, 2020:


        MINUTE entry before the Honorable John Z. Lee:As to Artem Vaulin, Ievgen
Kutsenko, Oleksandr Radostin. The Court orders the parties to file a joint written status
report by June 5, 2020. The report, which shall be as concise as possible, shall address for
each defendant: (1) the progress of discovery; (2) the status of briefing on any unresolved
motions; (3) whether the parties are engaging in plea negotiations; (4) for cases without
any future court dates, an agreed proposed schedule for the next 60 days; (5) for cases that
have future court dates, an agreed revised schedule if the current schedule needs revision;
(6) a request for any agreed action that the Court can take without a hearing; (7) whether
the parties believe a telephonic hearing or in−person hearing is necessary in the immediate
future, and, if so, the issue(s) that warrants discussion; and (8) whether the defendant
agrees to exclude time for the purposes of the Speedy Trial Act for the next 60 days.
Mailed notice (ca, )




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